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                                 2023CV00526




                                                                                                       Tiki Brown
                                                                                              Clerk of State Court
TO:             All Judges, Clerks of Court and Counsel of Record                        Clayton County, Georgia
                                                                                                   Latasha Currie

FROM:           Robyn M. Roth

RE:             Notice of Leave of Absence

DATE:           May 30, 2023

        COMES NOW, Robyn M. Roth, and respectfully notifies all Judges before whom she has

cases pending, all affected Clerks of Court, and all opposing counsel that she will be on leave

pursuant to Georgia Uniform Court Rule 16.

        1.   The periods of leave during which time Applicant will be away from the practice of

law are as follows:

                    •   SEPTEMBER 8, 2023;
                    •   SEPTEMBER 22, 2023;
                    •   SEPTEMBER 25, 2023;
                    •   OCTOBER 6, 2023;
                    •   NOVEMBER 20-22, 2023;
                    •   DECEMBER 18-22, 2023; AND
                    •   DECEMBER 26-29, 2023.

        The purpose of these leaves is to spend personal time with family, attend legal seminars

and observe religious holidays.

        2.    All affected Judges and opposing counsel shall have ten (10) days from the date of

this Notice to object to it. If no objections are filed, the leave shall be granted.

                                                    FAIN, MAJOR & BRENNAN, P.C.

                                                    /s/ Robyn M. Roth

 One Premier Plaza                                  ROBYN M. ROTH
 5605 Glenridge Drive NE                            Georgia Bar No. 153025
 Suite 900                                          Counsel for Defendants Sanchez Arredondo
 Atlanta, GA 30342                                  and Cobra Carrier, LLC
 (404) 688-6633
 rroth@fainmajor.com




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                                            EXHIBIT A

CASE STYLE                      PRESIDING JUDGE                 OPPOSING COUNSEL

Ronald Wright v. Sanchez        Honorable Michael Garrett       Edward Hardrick, Esq.
Arredondo and Cobra Carrier,                                    Morgan & Morgan, PLLC
LLC                                                             178 S. Main Street
State Court of Clayton County   State Court of Clayton County   Unit 300
Civil Action No.: 2023CV00526                                   Alpharetta, GA 30009
Our File No.: 07120.22133                                       ehardrick@forthepeople.com
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                    IN THE STATE COURT OF CLAYTON COUNTY
                               STATE OF GEORGIA

RONALD WRIGHT,                              )
                                            )
              Plaintiff,                    )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                   )
                                            )
EUSEBIO SANCHEZ and COBRA                   )
CARRIER, LLC,                               )
                                            )
              Defendants.                   )

                                CERTIFICATE OF SERVICE

       This is to certify that I have this date served upon counsel for the opposing parties, the

Clerks of Court and all presiding Judges in the foregoing matter a copy of the Notice of Leave of

Absence via e-file and/or by placing same in the United States Mail, postage prepaid.

       This 30th day of May, 2023.

                                                FAIN, MAJOR & BRENNAN, P.C.

                                                /s/ Robyn M. Roth

 One Premier Plaza                              ROBYN M. ROTH
 5605 Glenridge Drive NE                        Georgia Bar No. 153025
 Suite 900                                      Counsel for Defendants Sanchez Arredondo
 Atlanta, GA 30342                              and Cobra Carrier, LLC
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